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                            UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO

SRM-KODIAK AMERICA, LLC, an Idaho
limited liability company,                       Case No. 4:24-cv-00112

                     Plaintiff,                  PILLING DEFENDANTS’ RESPONSE
                                                 TO MOTION FOR PRELIMINARY
vs.                                              INJUNCTION
BREK PILLING, an individual; SCOTT
PILLING, an individual; KAM MFG LLC, a
Delaware limited liability Company f/k/a
Kodiak America, LLC; KODIAK
NORTHWEST, INC., and Idaho Corporation;
BAUB LLC, an Idaho limited liability
company; PFT ENVIRO INVESTMENTS,
LLC, an Idaho limited liability company;
BUDGET TRUCK CENTER, LLC, an Idaho
limited liability company; SAWTOOTH



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INDUSTRIAL, LLC, an Idaho limited liability
company; IIOVIII PRECISION, LLC, an
Idaho limited liability company;
INTERMOUNTAIN LIVING, LLC, and
Idaho limited liability company; BREK
PILLING AS TRUSTEE OF THE PILLING
FAMILY TRUST, an Idaho Trust; ARTHUR
SADAMPI YAMADA, an individual; GARY
WICKERSHAM, an individual; CAROLYN
SHOEMAKER, and individual; LURENE
DILLE, an individual; DOE DEFENDANTS
I–XX; and ROE ENTITY DEFENDANTS I–
XX;

                    Defendants.

KODIAK AMERICA, LLC; KODIAK
NORTHWEST, INC.; BAUB LLC; BREK
PILLING; and PFT ENVIRO
INVESTMENTS, LLC,

                    Counterclaimants,

vs.

SRM-KODIAK AMERICA, LLC, an
Idaholimited liability company,

                    Counterdefendant,

SCOTT PILLING; SAWTOOTH
INDUSTRIAL, LLC; IIOVIII PRECISION,
LLC; and INTERMOUNTAIN LIVING, LLC,

                    Counterclaimants,

vs.

SRM-KODIAK AMERICA, LLC, an
Idaholimited liability company,

                    Counterdefendant,


      Defendants KAM MFG LLC, a Delaware limited liability company f/k/a Kodiak

America, LLC; Kodiak Northwest, Inc., an Idaho corporation; BAUB LLC, an Idaho limited



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liability company; Brek Pilling, both individually and as trustee of The Pilling Family Trust; and

PFT Enviro Investments, LLC, an Idaho limited liability company (collectively, the “Pilling

Defendants”), respectfully submit this Memorandum in response to SRM-Kodiak America’s

Motion for Preliminary Injunction (Doc. 65).

                                       LEGAL STANDARD

        “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

v. NRDC, Inc., 555 U.S. 7, 24, 129 S. Ct. 365, 376 (2008). Rather, it should be granted only

when “the movant, by a clear showing, carries the burden of persuasion.” Mazurek v. Armstrong,

520 U.S. 968, 972, 117 S. Ct. 1865, 138 L. Ed. 2d 162 (1997) (per curiam) (citation omitted)

(emphasis in original).

        To obtain relief, the party seeking a preliminary injunction must establish that: (1) it is

likely to succeed on the merits; (2) it is likely to suffer irreparable harm in the absence of

preliminary relief; (3) the balance of equities tips in its favor; and (4) an injunction is in the

public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The first factor “is

the most important —likely success on the merits.” Garcia v. Google, Inc., 786 F.3d 733, 740

(9th Cir. 2015). Additionally, the movant must demonstrate that irreparable injury is “likely” in

the absence of an injunction, not just a “possibility.” Winter, 555 U.S. at 22, 117 S. Ct. at 375.

                                            ARGUMENT

1.      SRM Has Failed to Clearly Show that It Is Likely to Succeed on the Merits Against Brek.

        In order to qualify for preliminary relief, SRM must show that it is likely to succeed on

the merits of its trade secrets claim. As SRM has noted, this requires SRM to demonstrate that

each of the parties sought to be enjoined has misappropriated SRM’s trade secrets. 18 U.S.C. §

1836(b). While SRM spends considerable time in its memorandum detailing how it claims that




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Scott and/or his entities have done so 1, SRM offers very meager evidence that Brek has engaged

in any misappropriation. Rather, Brek (and the other “Trade Secret Defendants”) are simply

lumped in with Scott, his actions being imputed to the rest of them. This is insufficient to satisfy

the “clear showing” requirement needed for a preliminary injunction.

         Both the memorandum and the supporting declarations lack any direct evidence of

misappropriation by Brek. In fact, there are only a few instances in which Brek is referenced at

all. The first of these is Brek’s ownership interest in Intermountain Living, LLC, which SRM

relies on to support its contention that Brek is participating in the use of SRM’s trade secrets.

However, Brek does not possess an ownership interest in Intermountain Living, LLC, and has

not since September 2021, prior to SRM acquiring the very intellectual property rights that it

claims are being violated. Decl. Brek Pilling, p. 3, Ex. A; Decl. Gadd, Ex. A. Brek has had no

interest in and no involvement with Intermountain Living, LLC since that time. Id. Accordingly,

even if Intermountain Living, LLC is found to have misappropriated SRM’s trade secrets, it does

not follow that Brek has done so as well.

         SRM also references a meeting that occurred between Scott, Brek, and representatives of

Elecon in approximately August 2023. SRM surmises that the purpose of that meeting was to

discuss Scott’s and Brek’s use of SRM’s trade secrets but provides no evidence of this. This is

because SRM’s inference is incorrect. The purpose of the meeting was to discuss a potential

business venture related to the manufacture of drilling equipment for water wells, an industry

unrelated to SRM and its business. Decl. Brek Pilling, ¶ 4. There is nothing in the APA or

elsewhere that prohibits such discussions. Accordingly, SRM has failed to meet its burden of

persuading this Court that it will succeed on the merits of its claim against Brek.


1
  The Pilling Defendants do not take a position as to whether the Court should issue an injunction against Scott
Pilling or his entities.



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2.     SRM Has Failed to Clearly Show that It Will Likely Suffer Irreparable Harm in the
       Absence of a Preliminary Injunction Against Brek.

       Obviously, where SRM has failed to make a clear showing that Brek has misappropriated

its trade secrets, SRM has likewise failed to demonstrate a likelihood that it will suffer

irreparable harm absent the preliminary relief requested. SRM has failed to identify the trade

secrets that it believes Brek possesses or how Brek, specifically, has used or is threatening to use

them. To Brek’s knowledge, he does not possess any confidential information or intellectual

property belonging to SRM. Decl. Pilling, ¶ 5. Further, he has neither used nor threatened to use

SRM’s confidential information or intellectual property. Id. at ¶ 6. It is SRM’s burden to show

that it will be irreparably harmed if Brek, specifically, is not enjoined. SRM has failed to do so,

and its Motion should be denied.

3.     The Balance of the Equities and the Public Interest Weight Against the Entry of a
       Preliminary Injunction.

       “Before issuing a preliminary injunction, ‘courts must balance the competing claims of

injury and must consider the effect on each party of the granting or withholding of the requested

relief.’” Disney Enters. v. VidAngel, Inc., 869 F.3d 848, 866 (9th Cir. 2017) (quoting Winter, 555

U.S. at 24).

       SRM has requested an expansive order that includes, among other things, the

identification of all physical or electronic storage devices that Brek uses or has used since

January 2021 and the forensic imaging of such devices. The cost of doing so will be significant,

yet SRM has provided no concrete evidence of Brek’s involvement in any misappropriation or

that Brek has failed to comply with his confidentiality obligations under the APA. Further, while

Brek does not disagree with the general principal that parties to contracts should comply with the

terms of their agreements, not every party to a contract is entitled to the entry of a preliminary




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injunction. A preliminary injunction is not a right, Winter, 555 U.S. at 24, 129 S. Ct. at 376, and

it would be contrary to the public interest for courts to enter such injunctions without a clear

showing that the party seeking relief is entitled to the same.

                                           CONCLUSION

        SRM has failed to show that it is likely to prevail in its trade secrets claim against Brek,

that it will suffer irreparable harm if Brek is not enjoined, or that the equities or public interest

weigh in favor of the entry of a preliminary injunction against Brek. Accordingly, the Pilling

Defendants request that the Court deny SRM’s motion for preliminary injunction.

        DATED this 4th day of November, 2024.

                                                        STOVER, GADD & ASSOCIATES, PLLC


                                                        By: /s/ David W. Gadd
                                                            David W. Gadd
                                                            Counsel for the Pilling Defendants




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